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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

MARIA GALLAGHER, Individually,                   '
                                                 '
              Plaintiff,                         '    CASE NO.      5:20-cv-00718
vs.                                              '
                                                 '
                                                 '
DOMINION HOSPITALITY, LLC, a Texas               '
Limited Liability Company,                       '
                                                 '
              Defendant.                         '
______________________________________________________________________________

                      PLAINTIFF=S ORIGINAL COMPLAINT
                           (Injunctive Relief Demanded)
______________________________________________________________________________

TO THE HONORABLE JUDGE OF THIS COURT:

       COMES NOW Plaintiff, MARIA GALLAGHER, on her behalf and on behalf of all other

mobility impaired individuals similarly situated (APlaintiff@), and hereby sues the Defendant,

DOMINION HOSPITALITY, LLC, a Texas Limited Liability Company, (ADefendant@), for

Injunctive Relief, and attorney=s fees, litigation expenses, and costs pursuant to the Americans

with Disabilities Act, 42 U.S.C. ' 12181 et seq. (AADA@),

                                   COUNT I
                   VIOLATION OF TITLE III OF THE AMERICANS
                   WITH DISABILITIES ACT 42 U.S.C. § 12181, et seq.

                                         I. PARTIES

       1.     Plaintiff, MARIA GALLAGHER, is an individual residing in West Palm Beach,

FL, in the County of Palm Beach.

       2.     Defendant’s property, La Quinta by Wyndham San Antonio The Dominion is

located at 25042 IH-10 W, San Antonio, TX 78257, in the County of Bexar.
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                                II.   JURISDICTION AND VENUE

        3.       This Court has original jurisdiction in this action. This Court has been given

original jurisdiction over actions arising from the Defendant’s violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. ' 12181, et seq. See also 28 U.S.C. ' 2201 and

' 2202.

        4.       Venue is properly in the United States District Court for the Western District of

Texas because venue lies in the judicial district of the property situs. The Defendant=s property

is located in the Western District of Texas and the Defendant conducts business within this

judicial district.

                               III. STATUTORY BACKGROUND

        5.       On July 26, 1990, Congress enacted the Americans with Disabilities Act of 1990,

establishing important civil rights for individuals with disabilities, including the right to full and

equal enjoyment of goods, services, facilities, privileges, and access to places of public

accommodation.

        6.       Among other things, Congress made findings in 42 U.S.C. ' 12101 (a)(1)-(3), (5)

and (9) that included:

                 a.      Some 43,000,000 Americans have one or more physical or mental

        disabilities, and this number is increasing as the population as a whole is growing older;

                 b.      Historically, society has tended to isolate and segregate individuals with

        disabilities, and, despite some improvements, such forms of discrimination against

        individuals with disabilities continue to be a serious and pervasive social problem;

                 c.      Discrimination against individuals with disabilities persists in such critical

        areas as employment, housing, public accommodations, education, transportation,


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       communication, recreation, institutionalization, health services, voting and access to

       public services;

              d.      Individuals with disabilities continually encounter various forms of

       discrimination, including outright intentional exclusion, the discriminatory effects of

       architectural, transportation, and communication barriers, overprotective rules and

       policies, failure to make modifications to existing facilities and practices, exclusionary

       qualification standards and criteria, segregation, and regulation to lesser services,

       programs, activities, benefits, jobs or other opportunities; and

              e.      The continuing existence of unfair and unnecessary discrimination and

       prejudice denies people with disabilities the opportunity to compete on an equal basis and

       to pursue those opportunities for which our free society is justifiably famous, and costs

       the United States billions of dollars in unnecessary expenses resulting from dependency

       and non-productivity.

       7.     Congress also explicitly stated in 42 U.S.C. ' 12101 (b)(1)(2) and (4) that the

purpose of the Americans with Disabilities Act was to:

              a.      Provide a clear and comprehensive national mandate for the elimination of

       discrimination against individuals with disabilities;

              b.      Provide clear, strong, consistent, enforceable standards addressing

       discrimination against individuals with disabilities; and,

              c.      Invoke the sweep of congressional authority, including the power to

       enforce the fourteenth amendment and to regulate commerce, in order to address the

       major areas of discrimination faced day-to-day by people with disabilities.

       8.     Furthermore, pursuant to 42 U.S.C. ' 12182 and 28 CFR 36.201(a),


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Congressional intent was for no place of public accommodation to discriminate against an

individual, on the basis of such individual=s disability, with regard to the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, or accommodations at that

place of public accommodation.

       9.      Congress provided commercial businesses at least 18 months from enactment

make their facilities compliant to the regulations in the Americans with Disabilities Act. The

effective date of Title III of the ADA was January 26, 1992, or January 26, 1993, if the

Defendant has ten (10) or fewer employees and gross receipts of $500,000 or less. 42 U.S.C.

' 12181, 28 CFR 36.508(a).

                             IV. THE PARTIES AND STANDING

       10.     Plaintiff, MARIA GALLAGHER is a Florida resident, is sui juris, and qualifies as

an individual with disabilities as defined by the ADA. Because of the condition of her hip,

chronic right trochanteric bursitis, she gets around when going short distances, by the use of a

walker or a cane; while going longer distances, she gets around through the use of a wheelchair.

       11.     Maria Gallagher frequently visits San Antonio to see her sister and brother and

other family members, to see friends, to enjoy the numerous attractions and cultural events the

city offers, and to advocate for disabled rights.

       12.     Mrs. Gallagher stayed at the La Quinta by Wyndham San Antonio The Dominion

on December 26 – 27, 2019, and plans to return to the subject property in the near future to avail

herself of the goods and services offered to the public at the property, when the hotel is made

accessible for her use.

       13.     The Defendant has discriminated against the individual Plaintiff by denying her

access to, and full and equal enjoyment of the goods, services, facilities, privileges, advantages


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and/or accommodations of the buildings, as prohibited by 42 U.S.C. ' 12182 et seq.

       14.     Defendant owns, or leases, (or leases to), or operates a place of public

accommodation as defined by the ADA and the regulations implementing the ADA, 28 CFR

36.201(a) and 36.104. Defendant is responsible for complying with the obligations of the ADA.

The place of public accommodation that the Defendant owns, operates, leases or leases to is

known as La Quinta by Wyndham San Antonio The Dominion, and is located at 25042 IH-10 W,

San Antonio, TX 78257.

       15.     MARIA GALLAGHER has a realistic, credible, existing and continuing threat of

discrimination from the Defendant non-compliance with the ADA with respect to this property

as described but not necessarily limited to the allegations in paragraph 17 of this complaint.

Plaintiff has reasonable grounds to believe that she will continue to be subjected to

discrimination in violation of the ADA by the Defendant. MARIA GALLAGHER desires to

visit La Quinta by Wyndham San Antonio The Dominion, not only to avail herself of the goods

and services available at the property but to assure herself that the property are in compliance

with the ADA so that she and others similarly situated will have full and equal enjoyment of the

property without fear of discrimination.

       16.     The Defendant has discriminated against the individual Plaintiff by denying her

access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq., as outlined

in paragraph 17 herein.

                                     THE INSTANT CLAIM

       17.     The Defendant has discriminated, and is continuing to discriminate, against the

Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,


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1992 (or January 26, 1993 if Defendant has 10 or fewer employees and gross receipts of

$500,000 or less). A preliminary inspection of La Quinta by Wyndham San Antonio The

Dominion has shown that violations exist. These violations personally encountered or observed

by Mrs. Gallagher include, but are not limited to:

               Accessible Route

               A.     The Plaintiff had difficulty traversing the facility due to site arrivals point
                      not providing accessible routes to the public streets and sidewalks, in
                      violation of Section 206.2.1 in the 2010 ADA Standards, whose resolution
                      is readily achievable.

               B.     The Plaintiff had difficulty traversing the accessible route due to the
                      walkway having a change in level greater than ¼ inch, in violation of
                      Sections 303.2 and 403.4 in the 2010 ADA Standards, whose resolution is
                      readily achievable.

               Parking

               C.     The Plaintiff had difficulty exiting the vehicle on the passenger loading
                      zone at the main entrance does not provide a marked access aisle adjacent
                      to the vehicular pull-up space as required, in violation of Section 503.3 in
                      the 2010 ADA Standards, whose resolution is readily achievable.

               D.     The Plaintiff had difficulty traversing the accessible parking stall and
                      access aisle due to the change in vertical level greater than ¼ inch, in
                      violation of Section 303.2 in the 2010 ADA Standards, whose resolution is
                      readily achievable.

               Common Area

               E.     The Plaintiff had difficulty utilizing the tables in the dining area due to the
                      tables not providing knee and toe clearance as required, in violation of
                      Sections 306.2.1 and 306.3.1 in the 2010 ADA Standards, whose
                      resolution is readily achievable.

               Lobby Women’s Restroom

               F.     The Plaintiff had difficulty operating the door from the inside of the
                      restroom due to the door not providing the 18 inches of latch side
                      maneuvering clearance as required, as a garbage can blocks the required
                      clearance, in violation of Section 404.2.4.1 in the 2010 ADA Standards,
                      whose resolution is readily achievable.

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 G.    The Plaintiff had difficulty utilizing the mirror due to the mirror being
       higher than 40 inches from the floor to the reflecting surface, in violation
       of Section 603.3 in the 2010 ADA Standards, whose resolution is readily
       achievable.

 H.    The water supply and drain pipes under the lavatory are not insulated
       making it difficult for the Plaintiff to utilize, in violation of Section 606.5
       of the 2010 ADA Standards, whose resolution is readily achievable.

 I.    The Plaintiff had difficulty utilizing the side wall grab bar due to the side
       wall grab bar not extending 54 inches from the back wall as required, in
       violation of Section 604.5.1 in the 2010 ADA Standards, whose resolution
       is readily achievable.

 J.    The stall door does not provide door pulls on both sides of the door
       making it difficult to utilize, in violation of Section 604.8.1.2 of the 2010
       ADA Standards, whose resolution is readily achievable.

 Pool Area

 K.    The Plaintiff had difficulty utilizing the gate due to the operable
       mechanism being higher than 48 inches above the ground, in violation of
       Section 309.3 in the 2010 ADA Standards, whose resolution is readily
       achievable.

 L.    The Plaintiff had difficulty utilizing the gate due to the gate not providing
       18 inches of latch side clearance as required, in violation of Section
       404.2.4.1 in the 2010 ADA Standards, whose resolution is readily
       achievable.

 Guestroom

 M.    The Plaintiff had difficulty utilizing the coat hook due to the coat hook
       being mounted higher than 48 inches above the finished floor, in violation
       of Section 603.4 in the 201 ADA Standards, whose resolution is readily
       achievable.

 N.    The Plaintiff had difficulty reaching the iron as well as the rod and the
       shelf in the closet due to the mounted height exceeding 48 inches above
       the finished floor to the operable mechanism, in violation of Section 309.3
       in the 2010 ADA Standards whose resolution is readily achievable.

 O.    The Plaintiff had difficulty operating the closet door due to the closet door
       having door knobs that required tights grasping and pinching, in violation
       of Section 309.4 in the 2010 ADA Standards, whose resolution is readily
       achievable.

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               P.      The Plaintiff had to use caution when utilizing the lavatory due to the
                       drain pipe missing insulation as required, in violation of Section 606.5 in
                       the 2010 ADA Standards, whose resolution is readily achievable.

               Q.      The Plaintiff had a difficult time traversing to the water closet due to the
                       lavatory obstructing the clear floor space, in violation of Section 604.3.1
                       in the 2010 ADA Standards, whose resolution is readily achievable.

               R.      The Plaintiff had a difficult time traversing to the lavatory due to the trash
                       can obstructing the clear floor space, in violation of Sections 606.2 and
                       305 in the 2010 ADA Standards, whose resolution is readily achievable.

               S.      The Plaintiff had a difficult time operating the hand held shower spray unit
                       due to the shower spray unit not providing an on/off control with a non-
                       positive shut-off as required, in violation of Section 608.6 in the 2010
                       ADA Standards, whose resolution is readily achievable.

               T.      The Plaintiff had a difficult time traversing into the shower due to the
                       changes in level exceeding the maximum ½ inch in height, in violation of
                       Sections 303.3 and 608.7 of the 2010 ADA Standards, whose resolution is
                       readily achievable.

               U.      The subject hotel lacks the required number of compliant disabled rooms,
                       and the compliant disabled rooms are not dispersed amongst the various
                       classes of guest rooms in violation of Section 224.5 of the 2010 ADAAG.

               Maintenance

               V.      The accessible features of the facility are not maintained, creating barriers
                       to access for the Plaintiff, as set forth herein, in violation of 28 CFR
                       36.211.

       18.     All of the foregoing violations are violations of the 1991 Americans with

Disabilities Act Guidelines (ADAAG), and the 2010 ADA Standards for Accessible Design, as

promulgated by the U.S. Department of Justice.

       19.     The discriminatory violations described in paragraph 17 are not an exclusive list

of the Defendant’s ADA violations. Plaintiff requires further inspection of the Defendant=s place

of public accommodation in order to photograph and measure all of the discriminatory acts

violating the ADA and all of the barriers to access.
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       20.     The individual Plaintiff, and all other individuals similarly situated have been

denied access to, and have been denied the benefits of services, programs and activities of the

Defendant buildings and its facilities, and have otherwise been discriminated against and

damaged by the Defendant because of the Defendant’s ADA violations, as set forth above. The

individual Plaintiff, and all others similarly situated will continue to suffer such discrimination,

injury and damage without the immediate relief provided by the ADA as requested herein. In

order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

Defendant’s place of public accommodation in order to determine all of the areas of non-

compliance with the Americans with Disabilities Act.

       21.     Defendant has discriminated against the individual Plaintiff by denying her access

to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of its place of public accommodation or commercial facility in violation of 42

U.S.C. ' 12181 et seq., and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

discriminate against the Plaintiff, and all those similarly situated by failing to make reasonable

modifications in policies, practices or procedures, when such modifications are necessary to

afford all offered goods, services, facilities, privileges, advantages or accommodations to

individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

that no individual with a disability is excluded, denied services, segregated or otherwise treated

differently than other individuals because of the absence of auxiliary aids and services.

       22.     Defendant is required to remove the existing architectural barriers to the

physically disabled when such removal is readily achievable for its place of public

accommodation that has existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative,

if there has been an alteration to Defendant’s place of public accommodation since January 26,


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1992, then the Defendant is required to ensure to the maximum extent feasible, that the altered

portions of the facility are readily accessible to and useable by individuals with disabilities,

including individuals who use wheelchairs, 28 CFR 36.402; and finally if the Defendant’s

facility is one which was designed and constructed for first occupancy subsequent to January 26,

1993, as defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to

and useable by individuals with disabilities as defined by the ADA.

       23.     Appendix A to Part 36 - Standards for Accessible Design (28 CFR Part 36,

App. A), sets out guidelines for accessibility for buildings and facilities. These guidelines are to

be applied during design, construction and alteration of such buildings and facilities to the extent

required by regulations issued by Federal Agencies, including the Department of Justice, under

the ADA.

       24.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney=s

fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. ' 12205 and 28

CFR 36.505.

       25.     Notice to Defendant is not required as a result of the Defendant=s failure to cure

the violations by January 26, 1992 (or January 26, 1993 if Defendant has 10 or fewer employees

and gross receipts of $500,000 or less). All other conditions precedent have been met by

Plaintiff or waived by the Defendant.

       26.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Considering the balance of hardships between the Plaintiff and Defendant, a remedy in equity is

warranted. Furthermore, the public interest would not be disserved by a permanent injunction.

       27.     Pursuant to 42 U.S.C. ' 12188, this Court is provided authority to grant Plaintiff

Injunctive Relief including an order to alter La Quinta by Wyndham San Antonio The Dominion


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to make those facilities readily accessible and useable to the Plaintiff and all other persons with

disabilities as defined by the ADA; or by closing the facility until such time as the Defendant

cures its violations of the ADA.

       WHEREFORE, Plaintiff respectfully requests:

               a.     The Court issue a Declaratory Judgment that determines that the

               Defendant at the commencement of the subject lawsuit is in violation of Title III

               of the Americans with Disabilities Act, 42 U.S.C. ' 12181, et seq.

               b.     Injunctive relief against the Defendant including an order to make all

               readily achievable alterations to the facility; or to make such facility readily

               accessible to and usable by individuals with disabilities to the extent required by

               the ADA; and to require the Defendant to make reasonable modifications in

               policies, practices or procedures, when such modifications are necessary to afford

               all offered goods, services, facilities, privileges, advantages or accommodations to

               individuals with disabilities; and by failing to take such stops that may be

               necessary to ensure that no individual with a disability is excluded, denied

               services, segregated or otherwise treated differently than other individuals

               because of the absence of auxiliary aids and services.

               c.     An award of attorney=s fees, costs and litigation expenses pursuant to

               42 U.S.C. ' 12205.

               d.     Such other relief as the Court deems just and proper, and/or is allowable

               under Title III of the Americans with Disabilities Act.




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  e.     The Order shall further require the Defendant to maintain the required

  accessible features on an ongoing basis.

                               Respectfully submitted,




                              ______________________________
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